                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


DR. JOSEPH CICCIO, et al.                     )
                                              )
         Plaintiffs,                          )
                                              )       Civil No. 3:19-cv-00845
v.                                            )
                                              )       Judge Trauger/Magistrate Judge Holmes
SMILEDIRECTCLUB, LLC, et al.                  )
                                              )
         Defendants.                          )

                   ORDER GRANTING IN PART AND DENYING IN PART
                   THE RELIEF SOUGHT BY DEFENDANTS IN FOURTH
                   JOINT DISCOVERY DISPUTE STATEMENT (DOC. 174)

         On November 8, 2021, the Special Master heard argument on a number of outstanding

issues related to the parties’ Fourth Joint Discovery Dispute Statement (the “Fourth JDDS”).

(Doc. 174). For the reasons cited herein, Defendants’ request for relief is GRANTED in part and

DENIED in part.

                                              FACTS

         On May 17, 2021, the parties filed their Fourth JDDS. (Doc. 174) In it, the parties

disputed whether Provider Plaintiffs must produce the following categories of documents: 1)

records supporting Provider Plaintiffs’ alleged economic losses; 2) documents sufficient to

describe Provider Plaintiffs’ services, including actual billing data; 3) communications received

from non-parties that reference SmileDirect, Align Technologies, other aligner manufacturers, or

teledentistry; and 4) information from the Provider Plaintiffs’ practice-management software.

(Doc. 174 at 1) The Special Master invited the parties to submit additional briefing on these

issues and the parties did so on June 14, 2021, at Docket Entries 188 (Defendants) and 190

(Provider Plaintiffs).


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         Following oral argument on July 15, 2021, the Special Master provided the following

instructions:

                Counsel for Provider Plaintiffs verbally made a proposal at the hearing to
                 resolve the dispute concerning financial information. By Thursday (7/22),
                 counsel for Provider Plaintiffs shall provide counsel for Defendants with
                 their proposal in writing with as much detail as possible. In it, please
                 identify the specific categories of information that each provider kept in
                 the regular course of their business. E.g. – Dr. Ciccio kept angles,
                 classifications of malocclusion, type of appliance, etc.

                By Thursday (7/22), counsel for Defendants shall provide counsel for
                 Provider Plaintiffs with a list of the specific financial information they are
                 requesting. By Thursday (8/5), counsel for Provider Plaintiffs shall inform
                 counsel for Defendants what information their clients possess, whether it
                 is accessible via their practice management software and any cost
                 associated with accessing it.

                Although not discussed at the hearing, I think it also makes sense to use
                 the same dates to exchange search terms regarding Defendants’ requests
                 for information regarding entities other than SmileDirect. To that end, by
                 Thursday (7/22), counsel for Defendants shall provide counsel for
                 Provider Plaintiffs with a list of prosed search terms. By Thursday (8/5),
                 counsel for Prover Plaintiffs shall provide counsel for Defendants with
                 information regarding hit counts generated by the requested terms.

(July 15, 2021 email to counsel for all parties, a copy of which is attached hereto as Exhibit A).

         On October 12, 2021, Defendants contacted the Special Master requesting a discovery

hearing. Defendants informed the Special Master that they were not able to resolve the issues

raised in the Fourth JDDS. Defendants requested an order from the Special Master setting a date

certain by which Provider Plaintiffs must produce all non-privileged documents responsive to the

requests addressed in the Fourth JDDS and barring the subsequent admission or reliance on any




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materials not produced by that date. On Monday, November 8, 2022, the Special Master heard

argument on the outstanding issues.1

                                              ANALYSIS

         On October 13, 2021, the Special Master entered an Amended Scheduling Order setting

out, among other things, a March 30, 2022, deadlines for the completion of discovery regarding

class certification and staying discovery into aspects of the merits unrelated to class certification.

(Doc. 265) It is against this backdrop that the 4th JDDS must be analyzed.

         It also bears noting that the Provider Plaintiffs are parties to litigation in Federal Court

which they initiated and in which they wish to serve as class representatives and derive all of the

potential benefits that come with that. Nevertheless, the Provider Plaintiffs have put forth a

number of reasons why they have not been able to produce documents in a timely manner such

as personal travel, having to access information after hours, unfamiliarity with the capabilities of

their practice management systems and the like. While the Special Master is sympathetic to the

competing demands faced by small businesses and their owners, the Provider Plaintiffs must

participate in discovery fully and provide relevant documents and information to the Defendants

in a timely and complete manner.

         Precertification discovery into named plaintiffs generally “pertains to the requirements of

Rule 23 and tests whether the claims and defenses are susceptible to class-wide proof . . . .”

Federal Judicial Center, Ann. Manual for Complex Lit. § 21.14 Precertification Discovery (4th

Ed.) (2021). Accordingly, discovery into the requirements under Rule 23(a) and (b) are

appropriate before the class has been certified. Id. This includes discovery into commonality



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  At the November 8, 2021, hearing before the Special Master, counsel for Provider Plaintiffs
indicated that a supplemental production had been made that morning. Defendants stated that
Provider Plaintiffs’ productions remained inadequate.
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(whether the type of proof the parties expect to present demonstrate common questions of law

and fact), typicality (whether the named plaintiffs’ claims arise from the same course of action

and involve the same legal arguments), adequacy (whether the named plaintiffs’ interests align

with those of the proposed class members and that they plan to prosecute the action vigorously),

and whether common questions predominate. Id. at §§ 21.141, 21.142. Defendants also

challenge Provider Plaintiffs’ standing, which is also appropriate precertification discovery. See

O’Bar v. Lowe’s Home centers, Inc., 2007 WL 1299180, at *1 (W.D.N.C. May 2, 2007) (“The

issue of standing is significant to preparation of a precertification discovery plan because

potential members of the class will consist only of those unnamed persons for whom Plaintiffs

have standing to represent.”).

         On July 15, 2021, the Special Master directed the parties to exchange information that

would ultimately result in the Provider Plaintiffs producing additional information and

documents. Specifically, the Special Master directed that: 1) by August 5, 2021, counsel for

Provider Plaintiffs shall inform counsel for Defendants what information their clients possess,

whether it is accessible via their practice management software and any cost associated with

accessing it; and 2) by August 5, 2021, counsel for Provider Plaintiffs shall provide counsel for

Defendants with information regarding hit counts generated by the requested terms. (Exhibit

A).

         Based on the Special Master’s review of correspondence exchanged between the parties

and argument before the Special Master on November 8, 2021, Provider Plaintiffs have not

complied with the above directives. In the Fourth JDDS, Provider Plaintiffs stated that their

“damages model does not yet exist, and Provider Plaintiffs have agreed to supplement their

productions as appropriate.” (Doc. 174 at 11) The Provider Plaintiffs seem to suggest that



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certain discovery regarding their practices is not necessary because they intend to proffer a class-

wide damages model through their expert in order to certify the provider class. The Special

Master disagrees. The damages model Provider Plaintiffs may utilize does not in and of itself

determine the permissible scope of discoverable information. Moreover, to date, it appears that

the Provider Plaintiffs have not provided requested financial information to Defendants,

including practice finances, mix of services supporting practice revenue, frequency of

procedures, and the like. As of November 8, 2021, Provider Plaintiffs were still confirming

whether the named plaintiffs could perform searches for this information across their practice

software. Further, it appears that the Provider Plaintiffs have been conducting their own searches

of emails when their offices are closed; leading to at best mixed, and at worst deficient, results.

         Pursuant to the Amended Scheduling Order (Doc. 265), fact class certification discovery

is set to close on March 30, 2022—roughly four months from now. Provider Plaintiffs’

production of documents and information is well past due. To the extent it was ever appropriate

for the Provider Plaintiffs to handle their own collection and production efforts, that time has

passed. Accordingly, the Special Master orders the Provider Plaintiffs to take concrete steps

outlined below in furtherance of their discovery obligations.

         Defendants have also requested that the Special Master bar the subsequent admission or

reliance on any materials not produced by a date certain. This request appears to be based on

Federal Rule of Civil Procedure 37(a)(3)(B) and Rule 37(b)(2)(A). But Rule 37(b) is limited to a

party’s failure to comply with a court order. U.S. v. Carrell, 2011 WL 487627, at *5 (M.D.

Tenn. Feb. 7, 2011) (explaining that Rule 37(b) must be read in conjunction with Rule 37(a));

Germaine v. United States, 2019 WL 11031646, at *3 (M.D. Tenn. Dec. 2, 2019) (entering

sanctions authorized by Rule 37(b) pursuant to Rule 16(f)). While the Special Master directed



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the parties to exchange certain information and Provider Plaintiffs have failed to comply with

this directive, Provider Plaintiffs have not violated a discovery order. Accordingly, any

sanctions contemplated under Rule 37(b) are not appropriate at this time.

                                           CONCLUSION

         Based upon the foregoing, Defendants’ request for relief is GRANTED in part and

DENIED in part. The Special Master ORDERS:

    1. By no later than December 6, 2021, Provider Plaintiffs shall (a) engage an eDiscovery

         vendor to image any email account(s) that might contain responsive communications, (b)

         have the vendor run the search strings identified by counsel for Defendants in their July

         22, 2021, letter (copy attached as Exhibit B), and (c) produce a list of hit counts to

         Defendants and the Special Master.

    2. By no later than December 6, 2021, Provider Plaintiffs shall (a) engage an independent

         vendor, whether the same third party as the eDiscovery vendor or not, to analyze the

         Provider Plaintiffs’ practice management software to determine whether the categories of

         information identified by counsel for Defendants in their July 22, 2021, letter (Exhibit B)

         are accessible, and (b) provide an update regarding the same to Defendants and the

         Special Master.

    3. At the upcoming hearing on December 8, 2021, counsel for the parties shall be prepared

         to discuss any remaining issues, including, but not limited to, a date certain by which all

         relevant, non-privileged documents shall be produced by Provider Plaintiffs.

    4. Notwithstanding any of the above deadlines, Plaintiff Providers shall produce relevant,

         non-privileged documents to Defendants on a rolling basis beginning as soon as possible.




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    5. Defendants’ request to bar the subsequent admission or reliance on any materials not

         produced by a date certain is denied.

         This terminates the matters at issue in the Fourth Joint Discovery Dispute Statement.

(Doc. 174)

         ENTERED this 19th day of November 2021.


                                                             /s/ Samuel P. Funk
                                                             Samuel P. Funk
                                                             Special Master




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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that, on November 19, 2021, a true and correct copy of the
foregoing document was served via the Court's ECF Filing System on counsel of record, as
follows:

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                                                            /s/ Samuel P. Funk




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